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Debtor 1 Donald Anthony Fitzpatrick

First Name Middle Name Last Name
Debtor 2 Ashley Louise Fitzpatrick
(Spouse, if filing) First Name Middle Name Last Name

: United States Bankruptcy Court for the: EASTERN DISTRICT OF KENTUCKY

‘ Case number 24-50512-grs O Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing togethes, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additicnal pages, write your name and case number {if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1 No. Go to Part 2.
Ml ves. where is the property?

141 What is the property? Check all that apply
1152 Red Lick Road HB Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description Be the amount of any secured claims on Schedule D:
Duplex or multi-unit buildin y
O P 9 Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
C Manufactured or mobile home
Current value of the Current value of the
Berea KY 40403-0000 OO Land entire property? portion you own?
City State ZIP Code C1 investment property $337,500.00 $337,500.00
O Timesha
oO re Describe the nature of your ownership interest
Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one — life estate), if known.
oO Debtor 1 only
Madison C1 Debtor 2 only
County Ml Debtor 1 and Debtor 2 only

Check if this is community property
Oo At least one of the debtors and ancther (see instructions)

Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here..................... te seesecoesnaneesseeenseensnsoeenas => | $337,500.00

Gir Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are -egistered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B Schedule A/B: Property page 1
Debior 1
Debtor 2

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Donald Anthony Fitzpatrick
_Ashley Louise Fitzpatrick

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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

DO No

Yes

3.1 Make: Mercedes
Model: S580V4
Year: 2022
Approximate mileage:
Other information:

3.2 Make: GMC
Model: Sierra
Year: 2024
Approximate mileage:
Other information:

3.3 Make: Cadillac
Model: CTS
Year: 2023
Approximate mileage:
Other information:

3.4 Make: Toyota
Model: Tundra
Year: 2019
Approximate mileage:
Other information:

3.5 Make: Pontiac

Model: 2FV87
Year: 2000
Approximate mileage:
Other information:

Official Form 106A/B

Who has an interest in the property? Check one
OQ Debtor 4 only

OD Debtor 2 only

§ debtor 1 and Debtor 2 only

CO At least one of the debtors and another

D1 Check if this is community property
(see instructions}

Who has an interest in the property? Check ore
O Debtor 4 only

CZ Debtor 2 only

WE bebtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

O1 Check if this is community property

{see instructions)

Who has an interest in the property? Check ome
OO Debtor 1 only

O Debtor 2 only

& Debtor 1 and Debtor 2 only

CZ At least one of the debtors and another

O Check if this is community property
(see instructions)

Who has an interest in the property? Check one
O Debtor 1 only

O debtor 2 only

BF pebtor 1 and Debtor 2 only

CO At least one of the debtors and another

O Check if this is community property

(see instructions)

Who has an interest in the property? Check ore
D1 Debtor 1 only

CO] Debtor 2 only

® Debtor 1 and Debtor 2 only

CD At least one of the debtors and another

C1 Check if this is community property
{see instructions)

Schedule A/B: Property

Case number (ifknown) 24-50512-grs

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$85,000.00 $85,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$100,000.00 $100,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$85,000.00 $85,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$42,000.00 $42,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$12,000.00 $12,000.00

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Debtor1 Donald Anthony Fitzpatrick

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Debtor2 —_ Ashley Louise Fitzpatrick _

3.6 Make: Chevrolet
Model: Express
Year: 2014

Approximate mileage:
Other information:

3.7 Make: Chevrolet
Model: Express
Year: 2006

Approximate mileage:
Other information:

3.8 Make: Chevrolet
Model: Pickup
Year: 2007

Approximate mileage:
Other information

3.9 Make: Hyundai
Model: Accent
Year: 2016

Approximate mileage:
Other information:

o Make. Chevrolet
Model: 2500 Pickup Truck
Year: 2007
Approximate mileage:
Other information:

3.1

1. Make: Chevrolet
Model: 2500 Pickup Truck
Year: 2020

Approximate mileage:
Other information:

Official Form 106A/B

Who has an interest in the property? Check one
D1 Debtor 1 only
O debtor 2 only

WW bebtor 1 and Debtor 2 only
DC Atleast one of the debtors and another

D) Check if this is community property
(see instructions)

Who has an interest in the property? Check ore
D Debtor 1 only

D Debtor 2 only

Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

C1 Check if this is community property
(see instructions)

Who has an interest in the property? Check o7e
CO Debtor 1 only

O Debtor 2 only

i bebtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C1 Check if this is community property
(see instructions)

Who has an interest in the property? Check one
O Debtor 1 only
a Debtor 2 only

CO Debtor 1 and Debtor 2 only
D At teast one of the debtors and another

C1 Check if this is community property
(see instructions)

Who has an interest in the property? Check ore
O Debtor 1 only

0 Debtor 2 only

@ Debtor 1 and Debtor 2 only

CO At least one of the debtors and another

C1 Check if this is community property

(see instructions)

Who has an interest in the property? Check ore
D Debtor 1 only

C1 Debtor 2 only

W pebtor 1 and Debtor 2 only

C1 At least one of the debtors and another

D1 Check if this is community property
(see instructions)

Schedule A/B: Property

Case number (if known) 24-50512-grs

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$10,250.00 $10,250.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$4,275.00 $4,275.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$3,000.00 $3,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Unknown Unknown

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$10,000.00 $10,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$15,000.00 $15,000.00

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Debtor1 Donald Anthony Fitzpatrick

Debtor2 Ashley Louise Fitzpatrick oe Case number (ifknown) 24-50512-grs
31 Ch let Do not deduct secured claims or exemptions. Put
: evrole i i ? i j

? Make: : Who has an interest in the property? Check cne the amount of any secured claims on Schedule D:
Model: Silverado C1 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year:

2020 O Debtor 2 only Current value of the Current value of the
Approximate mileage: BH Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CO Atleast one of the debtors and another
O check if this is community property $20,000.00 $20,000.00

(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

O No
Yes
. j i 2
41 Make: Keystone Who has an interest in the property? Check one Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: 32BH Ci Debtor 1 only Creditors Who Have Claims Secured by Property
Year: 2021
O Debtor 2 only Current value of the Current value of the
a Debtor 1 and Debtor 2 only entire property? Portion you own?
Other information: 0 At least one of the debtors and another
| CO Check if this is community property $10,000.00 $10,000.00
: Camper (see instructions) ~ oO

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
Pages you have attached for Part 2. Write that number here..u.....cccescsscssescessesesseeseceseserece => $396,525.00

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo
Yes. Describe.....

| Stove, refrigerator, dishwasher, microwave, washer/dryer, two bed |
suites, sofa, chair, sectional $5,000.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
C1) No

WI Yes. Describe.....

Three televisions, two cell phones, four computers, one printer,
one Playstation $2,000.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

B No
DO Yes. Describe...

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Debtor2 Ashley Louise Fitzpatrick _ Case number (if known) 24-50512-grs

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tabes, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments
ONo

@ Yes. Describe.....

Bowflex exercise equipment $300.00

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Bi No
QO) Yes. Describe.....
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

OC No
Ml Yes. Describe.....

Suits, dress clothes, casual clothes, shoes $1,000.00

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloon jewelry, watches, gems, gold, silver
O No

@ Yes. Describe.....

Wedding rings, engagement ring, watch $4,000.00

13. Non-farm animals
Examples: Dogs, cats, birds, horses
ONo

@ Yes. Describe.....

_Dog and cat $10.00

14. Any other personal and household items you did not already list, including any health aids you did not list
ONo

Yes. Give specific information.....

| Cpap machine $250.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber Mere ..............cseccccsccseesssesesecsesescesssecsesesessancenscrsenseaseceenes $12,560.00

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hend when you file your petition

Hi No

Official Form 106A/B Schedule A/B: Property page 5
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Debtor1 Donald Anthony Fitzpatrick
Debtor2 Ashley Louise Fitzpatrick Case number (if known) 24-50512-grs

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
ONo

Bi ves Institution name:

17.1. Checking Member Heritage Credit Union Unknown

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
EB No
O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

O No
Bi Yes. Give specific information about them. .......:........-
Name of entity: % of ownership:
Fast Flow Plumbing, LLC 100 % Unknown

20. Government and corporate bonds and other negotiable and non-negotiable instrurments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

M No

D Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
BNo
CO Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
OD Ves. ssssssscssexssisesten Institution name or individual

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
HI No
DO Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HI No
O Yes............. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HNo

O Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

O No

Byes. Give specific information about them...

Trademark: Fast Flow Plumbing logo Unknown

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Debtor2_ Ashley Louise Fitzpatrick Case number (if known) 24-50512-grs

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

DO No
Wl Yes. Give specific information about them...

Master Plumbers license Unknown

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
HNo
C1 Yes. Give specific information about them, including whether you already filed the retums and the tax years

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo

O Yes. Give specific information......

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick Pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

HNo
C1 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
O No
@ Yes. Name the insurance company of each policy and list its value.

Company name: Beneficiary: Surrender or refund
value:

Lincoln Mutual Ashley Fitzpatrick $50,000.00

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo

CO Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Mi No
C1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims >f the debtor and rights to set off claims
BNo

C) Yes. Describe each claim.........

35. Any financial assets you did not already list
No

OO Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here...............ccccssscssssecssesesereseseceseeees $50,000.00

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Debtor1 Donald Anthony Fitzpatrick
Debtor2 Ashley Louise Fitzpatrick Case number (if known) 24-50512-grs

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.

Wl Yes, Go to line 38.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

38. Accounts receivable or commissions you already earned
ONo
Wi Yes. Describe.....

#37. LEGAL OR EQUITABLE INTEREST IN ANY BUSINESS

RELATED PROPERTY:

2005 Chevolet Express, 2014 Chevrolet Express, 2015 Ford
| Taurus, 2016 Chevrolet Colorado, 2020 Express Trailer T1021875,
| Excavator 1-KXO33-4, AirCompressor | Unknown

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machinas, “ugs, telephones, desks, chairs, electronic devices

HNo
D1 Yes. Describe...

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
BNo

O Yes. Describe.....

41. Inventory
HI No
D Yes. Describe.....

42. Interests in partnerships or joint ventures

HNo

0 Yes. Give specific information about them..................-
Name of entity: % of ownership:

43. Customer lists, mailing lists, or other compilations
B No.

OD Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

HI No
OO Yes. Describe...

44. Any business-related property you did not already list
HNo

CZ Yes. Give specific information.........

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that number here $0.00

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Debtor1 Donald Anthony Fitzpatrick
Debtor2. Ashley Louise Fitzpatrick Case number (ifknown) 24-50512-grs

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.

D1 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo
O Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here 0.0.0... cccccccececececsececeee $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, lime 2 ...........csccsesssceseseseeseresesesssassessuesevasseyevsvaepensecesuecsessvecsceces save aesussvavsesevevensevace $337,500.00

56. Part 2: Total vehicles, line 5 $396,525.00

57. Part 3: Total personal and household items, line 15 $12,560.00

58. Part 4: Total financial assets, line 36 $50,000.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $459,085.00 | Gopy personal property total $459,085.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 $796,585.00

Official Form 106A/B Schedule A/B: Property page 9

